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                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF WEST VIRGINIA
                                  CLARKSBURG

 UNITED STATES OF AMERICA ex rel.
 JOSEPH SEIKEL and TERENCE SEIKEL,

                Plaintiffs-Relators,

 v.                                                           Civil Action No.: 1:23-CV-1
                                                              (JUDGE KLEEH)
 DAVID B. ALVAREZ,
 APPLIED CONSTRUCTION SOLUTIONS, INC.,
 ENERGY TRANSPORTATION, LLC,
 ENERGY RESOURCE GROUP, LLC,
 ET360, LLC,
 BEAR CONTRACTING, LLC,
 BEAR UTILITIES, LLC,
 JASON P. HENDERSON, and
 JOHN DOES NOS. 1-50,

      ORDER DENYING HENDERSON DEFENDANTS’ MOTION FOR PROTECTIVE
      ORDER [ECF NO. 100] AND MOTION TO STAY DISCOVERY [ECF NO. 97] AND
       SETTING MATTER FOR STATUS CONFERENCE ON SEPTEMBER 26, 2023

         Presently pending before the Court is a motion for a protective order [ECF No. 100] filed

 on July 31, 2023 by Defendants Jason P. Henderson, Energy Resource Group, LLC, and ET360,

 LLC (“Henderson Defendants”). By Referral Order [ECF No. 103] entered on August 15, 2023,

 the Hon. Thomas S. Kleeh, Chief United States District Judge, referred the motion [ECF No. 100]

 to the undersigned Magistrate Judge for hearing and disposition. Further, presently pending before

 the Court is Henderson Defendants’ motion to stay discovery pending resolution of motion to

 dismiss [ECF No. 97] filed on July 6, 2023. By Referral Order [ECF No. 111] entered on

 September 8, 2023, Judge Kleeh referred the motion [ECF No. 97] to the undersigned Magistrate

 Judge for hearing and disposition. As set forth on the record, the undersigned understands that both

 Henderson Defendants and Plaintiff-Relators have agreed that the referred motions are virtually

 the same. In general terms, this is a qui tam action brought under the False Claims Act.

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        As to the motion for a protective order [ECF No. 100], Henderson Defendants raise three

 arguments in support of an entry of a protective order regarding Plaintiff-Relators’ First Set of

 Requests for Production to Henderson Defendants. First, Henderson Defendants argue that their

 motion to dismiss [ECF No. 87] and motion to stay discovery [ECF No. 97] are pending before

 this Court and if they are granted, discovery would be unnecessary. Second, Henderson Defendants

 argue that Plaintiffs-Relators are requesting confidential and proprietary business information that

 Henderson Defendants are seeking to protect. Third, Henderson Defendants contend that the

 requests are overbroad and unduly burdensome. Plaintiffs’ position is that Henderson Defendants’

 claim of undue burden to produce the requested documents is insufficient to establish good cause

 when based upon the presumption that their Motion to Dismiss will be granted. Further, Plaintiffs

 explain that this motion is duplicative of the motion to stay discovery and thus an abuse of the

 discovery process. However, as above-noted and set forth on the record, both parties agreed that

 the two pending motions are duplicative.

        As to the motion to stay discovery [ECF No. 97], Henderson Defendants raise three

 arguments in support of a stay of discovery pending a ruling on Henderson Defendant’s motion to

 dismiss. First, if a stay is not granted, Henderson Defendants argue that production of extensive

 discovery would be inequitable and burdensome if the motion to dismiss were to dispose of all

 claims in Plaintiffs’ Amended Complaint. Second, Plaintiffs would not be prejudiced by a stay of

 discovery because discovery is not necessary to adjudicate Henderson Defendants’ motion to

 dismiss. Third, Henderson Defendants contend that a stay of discovery should be granted to further

 the interest of judicial economy because the anticipating ruling on the motion to dismiss may

 prevent wasting time and effort.




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        In support of the motion to stay discovery, Henderson Defendants cite to a series of cases

 regarding the False Claims Act where a motion to stay discovery was granted while a motion to

 dismiss is pending. United States ex rel. Williams v. Medical Support L.A., Inc., No. SA CV 20-

 00198-CBM (DFMx), 2021 WL 4816607, at *1 (C.D. Cal. May 7, 2021) (providing that a plaintiff

 “should not be able to use an inadequate complaint” to discover unknown wrongs); Fernandez v.

 Freedom Health, No. 8:18cv1959-MSS-JSS, 2021 WL 2954309, at *1 (M.D. Fla. Mar. 25, 2021)

 (providing that “discovery should follow the filing of a well-pleaded complaint”); United States

 ex rel. Ernst v. Coll. Park Ancillary, LLC, No. 2:19cv02085-TC, 2021 WL 533830, at *2 (D. Kan.

 Feb. 12, 2021) (agreeing that a ruling on the dispositive motion could conclude the case); Christina

 Paul & Florida v. Biotronik, Inc., No. 8:18cv396-T-36JSS, 2020 WL 13369048, at *3 (M.D. Fla.

 Oct. 16, 2020) (finding that the Relator’s complaint lacked sufficient allegations and may be

 subject to dismissal); United States ex rel. Modglin v. DJO Global Inc., No. CV 12-07152 MMM

 (JCGx), 2014 WL 12564275, at *2 (C.D. Cal. Feb. 20., 2014) (stating that one purpose of Rule

 9(b) is to prevent the filing of complaints as a ploy to discover unknown wrongs).

        Plaintiffs’ position is that, in addition to the Court having previously denied a joint motion

 to stay discovery, Henderson Defendants’ rationale for seeking a stay of discovery does not amount

 to good cause. Rather, Plaintiffs argue, Henderson Defendants offer only general and conclusory

 arguments that is necessary for the Court to stay discovery. Further, Plaintiffs stated that

 Henderson Defendants intentionally waited to file this motion two months after their motion to

 dismiss was filed and after the parties agreed to a proposed schedule which the Court entered.

        The undersigned understands that Henderson Defendants are awaiting the resolution of the

 motion to dismiss before producing the requested discovery. The motion to dismiss [ECF No. 87]

 is pending before the U.S. District Judge and the motion to stay discovery [ECF No. 97] and motion



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 for a protective order [ECF No. 100] have been referred to the undersigned. For this Court to rule

 on the Henderson Defendants’ motions, it must, by necessity, make a preliminary analysis of the

 motion to dismiss filed herein.

         A movant must pass a high threshold for prevailing on a motion to dismiss. To state a claim

 for relief, a complaint must contain only a “short and plain statement of the claim showing that the

 pleader is entitled to relief.” Fed. R. Civ. P. 8(a)(2). This requirement serves, simply, to give “the

 defendant fair notice of what the ... claim is and the grounds upon which it rests.’” Bell Atl. Corp.

 v. Twombly, 550 U.S. 544, 555 (2007).

         A complaint may be dismissed if it does not allege “enough facts to state a claim to relief

 that is plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570, 127 S.Ct. 1955, 167

 L.Ed.2d 929 (2007); Giarratano v. Johnson, 521 F.3d 298, 302 (4th Cir. 2008). Outside of pleading

 fraud and other special matters, detailed factual allegations are not necessarily required. Twombly,

 550 U.S. at 555. The factual allegations simply must be “enough to raise a right to relief above the

 speculative level.” Id. The “sheer possibility that a defendant has acted unlawfully” is insufficient.

 Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). Facial plausibility is established when a plaintiff

 “pleads factual content that allows the court to draw the reasonable inference that the defendant is

 liable for the misconduct alleged.” Id. Further, if a complaint is alleging fraud, “a party must state

 with particularity the circumstances constituting fraud.” Fed. R. Civ. P. 9(a)(b).

         Here, a preliminary review of Plaintiffs’ Amended Complaint [ECF No. 80] suggests that

 the allegations are stated with particularity and provide enough factual allegations that may survive

 a motion to dismiss.1 Withholding Plaintiffs’ opportunity to gather discovery to help build their


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  Plaintiff’s Amended Complaint [ECF No. 80] is 59 pages in length and details the allegations including
 Defendants’ entities, number of employees, and affiliations. Thus, while it is of course within the presiding
 District Judge’s purview to decide such dispositive motions, for purposes of the review here, the pleading
 plausibly will satisfy the standard for alleging fraud.

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 case in anticipation of an undecided ruling on a motion to dismiss is not constructive to this case’s

 trajectory and progress. The Court has considered the cases cited in Henderson Defendants’ brief

 and asserted on the record. All the cases share a common thread that underlines the analysis: the

 inadequacy of the complaint. In those cases, the failure to plead with particularity led to to the

 granting of a motion to stay pending a ruling on a motion to dismiss.

        Here, however, the Amended Complaint is distinguishable because of the level of detail

 provided in the allegations. Upon a preliminary analysis, it is plausible that the Amended

 Complaint satisfies the particularity requirement of Rule 9(b) concerning allegations of fraud and

 thus survives a motion to dismiss.

        Therefore, the undersigned declines to grant the motion for a protective order and the

 motion to stay discovery simply because Defendants’ motion to dismiss is pending. Given the

 detail and extensiveness of the Amended Complaint, it is far from clear that the motion to dismiss

 will be granted. Thus, the undersigned DENIES Henderson Defendant’s motion for a protective

 order [ECF No. 100] and motion to stay discovery [ECF No. 97] for the reasons set forth in this

 order. It is so ORDERED.

        For the reasons stated herein, the motion to compel [ECF No. 100] and the motion to stay

 discovery pending resolution of the motion to dismiss [ECF No. 97] are hereby DENIED. It is so

 ORDERED.

        Accordingly, it is hereby further ORDERED that a Status Conference concerning the

 scope of discovery and any necessary protective order, is scheduled before the undersigned on

 September 26, 2023 at 2:00 p.m. at the Clarksburg point of holding court, Third Floor, in the

 Magistrate Judge Courtroom.




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        The Motion Hearing will be conducted remotely, using the Court’s Zoom

 videoconferencing/teleconferencing credentials. To join the meeting, participants may connect

 either by video or by telephone. Participants can connect by video by using the following link:

 https://www.zoomgov.com/j/1605681245?pwd=OU1BTDFQUDkraHA4U3Zpd1BIQW0rQT09 .

 Alternatively, participants may connect by telephone by calling (646) 828 7666, then entering

 Meeting ID 160 568 1245 and Passcode 43281. If participants have trouble connecting, they may

 contact Magistrate Judge Aloi’s Law Clerk, Nakia Ridgeway, directly by calling (304) 623-7172

 or sending e-mail to nakia_ridgeway@wvnd.uscourts.gov.

        Further, the parties are ORDERED to meet and confer, by telephone or other real-time

 means of communication, as to Henderson Defendant’s objections to the scope of discovery prior

 to the hearing scheduled herein. If the parties resolve all of the matters raised, counsel for the

 movant shall notify the Court forthwith, by contacting the above-noted Law Clerk. If the parties

 do not resolve the matters raised in the motion, the Court will inquire as to the same during the

 aforementioned hearing.

        It is all so ORDERED.

        The Clerk of the Court is DIRECTED to provide a copy of this Order to any parties who

 appear pro se and all counsel of record, as provided in the Administrative Procedures for Electronic

 Case Filing in the United States District Court for the Northern District of West Virginia.

        DATED: September 19, 2023.




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